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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


KATE WEISSMAN,

               Plaintiff,

v.                                                       CIVIL ACTION NO.:
                                                         1:19-cv-10580-ADB
UNITED HEALTHCARE INSURANCE
COMPANY, UNITED HEALTHCARE
SERVICE, LLC, AND INTERPUBLIC
GROUP OF COMPANIES, INC., CHOICE
PLUS PLAN,

       Defendants.

              DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                     PURSUANT TO FED. R. CIV. P. 12(b)(6)

       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendants UnitedHealthcare

Insurance Company and United Healthcare Service, LLC (“UnitedHealthcare”), and Defendant

Interpublic Group of Companies, Inc. Choice Plus Plan (“IPG Plan”), (collectively,

“Defendants”), move to dismiss Plaintiff’s Complaint for failure to state a claim upon which

relief may be granted.

       For the reasons stated in the accompanying memorandum of law submitted herewith,

Defendants respectfully request that the Court dismiss Plaintiff’s Complaint.

                                 Request For Oral Argument

       Pursuant to Local Rule 7.1(d), Defendants hereby respectfully request that the Court hear

oral argument on this Motion.
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                                            Respectfully submitted,
                                            UNITEDHEALTHCARE INSURANCE
                                            COMPANY, UNITED HEALTHCARE SERVICE,
                                            LLC, AND INTERPUBLIC GROUP OF
                                            COMPANIES, INC. CHOICE PLUS PLAN,
                                            Defendants,
                                            By Their Attorney,

                                            /s/ Justin P. O’Brien
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                                            briana.black@hoganlovells.com
Dated: August 13, 2019


                                 Local Rule 7.1 Certification

      I certify that counsel for Defendants have conferred with counsel for Plaintiff, who
opposes to this motion.

                                            /s/ Justin P. O’Brien
                                            Justin P. O’Brien
Dated: August 13, 2019
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                                      Certificate of Service

        I certify that on August 13, 2019, a copy of this document was electronically filed
through the ECF system and will be sent electronically to all persons identified in the Notice of
Electronic Filing, and that paper copies will be sent to those indicated as non-registered
participants.
                                               /s/ Justin P. O’Brien
                                               Justin P. O’Brien
Dated: August 13, 2019
